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 5
     Attorney for Plaintiff
 6   MARILYN ESPADA

 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   MARILYN ESPADA,                                 ) Case No. 3:15-cv-00734-JCS
                                                     )
13                   Plaintiff,                      ) JOINT NOTICE OF DISMISSAL
                                                     )
14
     vs.                                             )
15                                                   )
     SAN MATEO CREDIT UNION,                         )
16                                                   )
                    Defendant.                       )
17
                                                     )
18                                                   )

19
            TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
20
            1.       Plaintiff’s Complaint was filed on February 17, 2015.
21
            2.       Plaintiff and Defendant San Mateo Credit Union filed a Notice of Settlement on
22
     March 31, 2015.
23
            3.       The parties, by and through their counsel of record, hereby request that the Court
24
     dismiss the above-entitled matter with prejudice, pursuant to a fully executed Mutual Release
25
     and Settlement Agreement.
26

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28                                                                       JOINT NOTICE OF DISMISSAL
                                                                           CASE NO. 3:15-CV-00734-JCS
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              Case 3:15-cv-00734-JCS Document 18 Filed 04/24/15 Page 2 of 2




 1   Dated: April 22, 2015
                                                LAW OFFICE OF LISA J. ESPADA
 2

 3
                                                By:    /s/ Lisa J. Espada
 4                                                    LISA J. ESPADA
                                                      Attorney for Plaintiff
 5                                                    MARILYN ESPADA

 6

 7
     Dated: April 22, 2015
                                                LOMBARDI, LOPER & CONANT, LLP
 8

 9                                              By:    /s/ Leora R. Ragones
                                                      TIMOTHY J. MCCAFFERY
10                                                    LEORA R. RAGONES
                                                      Attorneys for Defendant
11                                                    SAN MATEO CREDIT UNION
12

13
                                                 ORDER
14

15
            Pursuant to the foregoing, the Court dismisses the entire action with prejudice.

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17          IT IS SO ORDERED.
                                                                            S DISTRICT
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     DATED:      4/23/15                              By:                                     pero
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                                                                  Judge Jo JOSEPH C. SPERO
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28                                                                               JOINT NOTICE OF DISMISSAL
                                                                                   CASE NO. 3:15-CV-00734-JCS
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